                                                 Case 15-58207-jwc                  Doc 33   Filed 07/30/20 Entered 07/30/20 18:31:35                                        Desc
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                                                                                       Form 1
                                                                                                                                                                                                          Page: 1
                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    15-58207-JWC                                                                                                                  Trustee Name:        (300320) S. Gregory Hays
Case Name:      FICKLE, STEPHANIE LEIGH                                                                                                    Date Filed (f) or Converted (c): 05/02/2015 (f)
                                                                                                                                           § 341(a) Meeting Date:       06/09/2015
For Period Ending:      06/30/2020                                                                                                         Claims Bar Date: 12/30/2015

                                                    1                                              2                              3                            4                      5                          6

                                            Asset Description                                   Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                     Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                 Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                    and Other Costs)                                                             Remaining Assets

    1*      Vacant lot, less than 1 acre                                                                12,500.00                               0.00                                              0.00                50,000.00
            9832 Georgia Highway 193, Chickamauga, GA. Co-owned with non-filing
            separated spouse. (See Footnote)

    2       House (Marital Residence) Title and Mortgage in Separated Spouse's Name                           0.00                              0.00                                              0.00                        FA
            In original schedules, Debtor claimed an equitable interest in property. Asset
            removed in amended schedules as divorce nor separation agreement has been
            filed creating such interest.

    3       Cash on Hand                                                                                     20.00                              0.00                                              0.00                        FA

    4       Checking account w/ Wells Fargo, xxx5082                                                         30.00                              0.00                                              0.00                        FA

    5       Household Furniture, Bed, Dining Table, Sofa, Tv                                             2,500.00                               0.00                                              0.00                        FA

    6       Books, family photos, Compact discs, Dvds                                                       200.00                              0.00                                              0.00                        FA

    7       Clothing and shoes                                                                              500.00                              0.00                                              0.00                        FA

    8       Costume Jewelry and Wedding Band/Engagement                                                  2,000.00                               0.00                                              0.00                        FA

    9       Equitable Support Obligation owed to Debtor                                                  1,300.00                               0.00                                              0.00                        FA

    10      Equitable Interest in Separated Spouse's 401 & other accounts                                     0.00                        50,000.00                                               0.00                        FA
            In original schedules, Debtor claimed an equitable interest in property. Asset
            removed in amended schedules as divorce nor separation agreement has been
            filed creating such interest.

    11      2002 Ford Explorer with 150K miles                                                           3,500.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 10/1/15, Dkt # 16.

    12      2 dogs                                                                                           20.00                              0.00           OA                                 0.00                        FA
            Notice of abandonment filed on 10/1/15, Dkt # 16.

   12       Assets               Totals       (Excluding unknown values)                               $22,570.00                        $50,000.00                                           $0.00                  $50,000.00


     RE PROP# 1            Trustee filed adversary # 20-06015 to resolve the post petition transfer of the property. The Trustee anticipates resolving the adversary through an sale of the property by the
                           Bankruptcy Estate and the co-owner.
                                          Case 15-58207-jwc             Doc 33        Filed 07/30/20 Entered 07/30/20 18:31:35                        Desc
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                                                                             Form 1
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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case No.:    15-58207-JWC                                                                                                 Trustee Name:      (300320) S. Gregory Hays
Case Name:     FICKLE, STEPHANIE LEIGH                                                                                    Date Filed (f) or Converted (c): 05/02/2015 (f)
                                                                                                                          § 341(a) Meeting Date:   06/09/2015
For Period Ending:     06/30/2020                                                                                         Claims Bar Date: 12/30/2015


      Major Activities Affecting Case Closing:
                                    Trustee is pursuing the sale of the bankruptcy estate's interest in the property located in Chickamauga, GA. Sale/settlement discussions with property
                                    co-owner were unsuccessful.

                                    Trustee filed adversary # 20-06015 to resolve the post petition transfer of the property. The Trustee anticipates resolving the adversary and selling the
                                    Bankruptcy Estate's interest in the property with the cooperation of the co-owner.

      Initial Projected Date Of Final Report (TFR):            12/31/2017                                 Current Projected Date Of Final Report (TFR):              03/31/2021


             07/30/2020                                                                                    /s/S. Gregory Hays

                Date                                                                                       S. Gregory Hays
